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                                                                         U.S. DISTRICT COURT
                                                                             N.D. OF ALABAMA




                EXHIBIT
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      Declaration of Adam P. Plant
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               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                      NORTHEASTERN DIVISION

UNITED STATES ex rel.           :
                                :
CHRISTOPHER N. MCCUTCHEON, :
                                :
          Relator-Plaintiff,    :
                                :
v.                              :                  CIVIL ACTION NO.
                                :                  5:17-CV-0462-MHH
QBR, LLC; VALLEY CENTER FOR     :
NERVE STUDIES AND               :
REHABILITATION, INC.; DERBY     :
MEDICAL BILLING SERVICES, INC.; :
ERIC R. BECK; JOHN              :
HORNBUCKLE; ORTHOPLUS, LLC; :
BRIAN BOWMAN; AND MARK A.       :
MURPHY, M.D.                    :
                Defendants.     :
                                :

                     DECLARATION OF ADAM P. PLANT

      Adam P. Plant, under the penalty of perjury, declares as follows:

      1.    I am one of the attorneys of record for Relator-Plaintiff Christopher N.

McCutcheon. I have personal knowledge of the facts set forth here.

      2.    Relator-Plaintiff McCutcheon filed a qui tam complaint under seal

alleging violations of the False Claims Act on March 24, 2017. (Doc. 1).

      3.    The complaint remained under seal for more than two years while the

United States investigated the claims pleaded in the complaint.

      4.    On December 2, 2020, this Court unsealed the complaint. (Doc. 30).


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      5.     Review of files of this District reveals that Defendant John Hornbuckle

was prosecuted criminally for the same conduct that underlies this False Claims Act

case. U.S. v. Hornbuckle, Case No. 5:22-cr-00078-LSC-NAD (N.D. Ala.).

      6.     Attached as Exhibit A to this Declaration is Hornbuckle’s indictment.

      7.     Attached as Exhibit B to this Declaration is Hornbuckle’s guilty plea.

      8.     Hornbuckle pleaded guilty to two counts of that indictment: count one,

which alleged Hornbuckle violated Federal law when he conspired to pay and

receive kickbacks under 18 U.S.C. § 371 and 42 U.S.C. § 1320a-7b(b)(1); and count

two, which alleged Hornbuckle violated Federal law when he participated in a

healthcare fraud conspiracy in violation of 18 U.S.C. § 1349 and 18 U.S.C. § 1347.

      9.     In his plea agreement, Hornbuckle agreed that he “offered and paid

providers” money for referral of “medically unnecessary electro-diagnostic testing”

and he “offered and paid kickbacks to sales representatives” for their work “to induce

providers to refer medically unnecessary electro-diagnostic testing to QBR.” (Exh.

B at 5).

      10.    Hornbuckle was ordered to pay restitution by Judge Coogler. Attached

as Exhibit C to this Declaration is the restitution order entered by Judge Coogler.

      11.    Based on the order of restitution from Hornbuckle’s criminal case,

Judge Coogler determined that Hornbuckle owed $5,344,919.85 in restitution to

Federal payors based on his work at QBR. (Exh. C at 1).



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                EXHIBIT
                   A
          Hornbuckle’s Indictment
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                                                           PFE/JBW/DBL: April 2022
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                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                        NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                    )
                                            )
      v.                                    )
                                            )
JOHN HORNBUCKLE                             )

                                  INDICTMENT

The Grand Jury charges that:

                               GENERAL ALLEGATIONS

At all times relevant to this Indictment:

           THE DEFENDANT AND RELATED INDIVIDUALS AND ENTITIES

      1.     JOHN HORNBUCKLE resided in Huntsville, Alabama. He served

as President and CEO of QBR, LLC (QBR), which was a company that provided

electro-diagnostic testing.

      2.     Doctor 1 resided in Huntsville, Alabama. Doctor 1 owned and operated

Valley Center for Nerve Studies and Rehabilitation (“Valley Center”) and billed

insurers for electro-diagnostic testing performed by QBR technicians.

      3.     Doctor 2 worked for Valley Center and interpreted the results of

electro-diagnostic testing performed by QBR technicians.

      4.     Dr. Mark Murphy operated pain clinics in Tennessee and Alabama.



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HORNBUCKLE paid Dr. Murphy, through QBR, to refer patients to QBR for

electro-diagnostic testing.

      5.     Doctor 3 was a physician at a pain clinic in Rainbow City, Alabama.

HORNBUCKLE paid Doctor 3’s pain clinic, through QBR, to refer patients to QBR

for electro-diagnostic testing.

                              QBR AND NERVE TESTING

      6.     QBR was an Alabama limited liability company with its principal place

of business in Huntsville, Alabama. It did business under the name Diagnostic

Referral Community. QBR was in the business of, among other things, conducting

electro-diagnostic testing, including nerve conduction velocity tests (NCV tests) and

sensory evoked potential tests (SEP tests).

      7.     An NCV test, also called a nerve conduction study, measures how fast

an electrical impulse moves through a patient’s nerve and is used to identify nerve

damage. An NCV test is performed by running an electrical impulse through the

nerve being tested.

      8.     An SEP test measures electrical activity in the brain in response to

stimulation of sight, sound, or touch.

      9.     QBR employed technicians to perform NCV and SEP tests on patients

referred to QBR by physicians, and QBR provided the testing equipment for those

tests. QBR technicians went to the referring physician office to perform testing on


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patients there. In exchange for referring patients to QBR, QBR paid the referring

physician or the referring physician’s practice a fee for each patient referred.

      10.    QBR sent the NCV and SEP test results to Valley Center, which was

operated by Doctor 1. The test results were generally interpreted by Doctor 2. After

tests were interpreted, a separate billing company, owned by Doctor 1, used Doctor

1’s National Provider Identifier (NPI) number to bill each patient’s insurance for the

testing. An NPI number is a unique ten-digit number used by healthcare providers

to identify themselves. Later, the billing company used Doctor 2’s NPI number to

bill the patient’s insurance for the testing. Regardless of whether Doctor 1’s or

Doctor 2’s NPI number was used, Valley Center was then paid by the patient’s

insurance for the testing.

      11.    Doctor 1 and HORNBUCKLE had an agreement whereby Valley

Center then paid money it received from insurance to QBR. During a certain period,

QBR then paid a portion of the money back to Valley Center.

                         BILLING FOR MEDICAL SERVICES

      12.    Various public and private entities offer health insurance plans to cover

medical care, pharmaceuticals, diagnostic tests, and other services provided to

individuals covered by those plans, who are often referred to as “beneficiaries” or

“members.”

      13.    Blue Cross Blue Shield of Alabama (BCBSAL) is a private health


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insurance company that provides medical insurance in Alabama and elsewhere.

      14.    The Medicare program is a federal healthcare benefit program

providing benefits to persons over the age of 65 or disabled.          Medicare is

administered by the United States Department of Health and Human Services

through its agency, the Centers for Medicare and Medicaid Services.

      15.    TRICARE is a health care benefit program of the United States

Department of Defense (DOD) Military Health System that provides certain medical

insurance coverage for DOD beneficiaries worldwide, including active-duty service

members, National Guard and Reserve members, retirees, their families, and

survivors.

      16.    The Alabama Medicaid program provides medical insurance to low-

income, blind, or disabled persons, or to members of families with dependent

children or qualified pregnant women or children. The Medicaid program is jointly

financed by the federal and state governments.

      17.    BCBSAL, Medicare, TRICARE, and Medicaid make insurance

payments directly to a provider of medical services or goods, rather than to a

beneficiary. This payment occurs after the provider submits the claim to the

healthcare benefit program for payment, either directly or through a billing

company. By enrolling in BCBSAL, Medicare, TRICARE, or Medicaid, and then

submitting a claim for payment, a healthcare provider is certifying that services or


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goods being provided to a patient are provided in accordance with the requirements

of the insurer.

      18.    BCBSAL, Medicare, TRICARE, and Medicaid will pay a medical

provider only for medical services or goods that are medically necessary for the

treatment of the patient being provided the services or goods.

      19.    In addition, BCBSAL, Medicare, TRICARE, and Medicaid will not pay

for medical services or goods that were provided in violation of the federal Anti-

Kickback Statute.

      20.    BCBSAL, Medicare, TRICARE, and Medicaid require providers to

collect co-pays, typically a fixed amount, from patients, in part so that the patient is

financially motivated to decline medically unnecessary or otherwise fraudulent

services or goods.

      21.    Medicare, TRICARE, and Medicaid are “federal health care

programs,” as defined in Title 42, United States Code, Section 1320a-7b(f).

BCBSAL, Medicare, TRICARE, and Medicaid are all “health care benefit

programs,” as defined in Title 18, United States Code, Section 24(b).

                                    COUNT ONE
                      Conspiracy to Pay and Receive Kickbacks
                    [18 U.S.C. § 371 (42 U.S.C. § 1320a-7b(b)(1))]

      22.    The allegations in Paragraphs 1 through 21 of this Indictment are re-

alleged and incorporated by reference as though fully set forth herein.


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      23.    From at least in or about December 2012 and continuing through in or

about January 2018 within Madison County in the Northern District of Alabama and

elsewhere, defendant

                             JOHN HORNBUCKLE

did willfully, that is, with the intent to further the objects of the conspiracy, and

knowingly combine, conspire, confederate, and agree with others known and

unknown to the Grand Jury:

             a.    to defraud the United States by impairing, impeding, obstructing,

                   and defeating through deceitful and dishonest means, the lawful

                   government functions of the United States Department of Health

                   and Human Services in its administration and oversight of the

                   Medicare and Medicaid programs and the United States

                   Department of Defense in its administration and oversight of

                   TRICARE, in violation of Title 18, United States Code, Section

                   371;

             b.    to knowingly and willfully offer and pay remuneration, including

                   kickbacks and bribes, directly and indirectly, overtly and

                   covertly, in cash and in kind, to: (A) any person to induce such

                   person to refer an individual to a person for the furnishing and

                   arranging for the furnishing of any item and service for which


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             payment may be made in whole and in part under Federal health

             care programs, that is, Medicare, Medicaid, and TRICARE; and

             (B) purchase, lease, order, and arrange for and recommend

             purchasing, leasing and ordering any good, facility, service and

             item for which payment may be made in whole and in part under

             Federal health care program, that is, Medicare, Medicaid, and

             TRICARE, in violation of Title 42, United States Code, Section

             1320a-7b(b)(2); and

        c.   to knowingly and willfully solicit and receive remuneration,

             including kickbacks and bribes, directly and indirectly, overtly

             and covertly, in cash and in kind, in return for: (A) referring an

             individual to a person for the furnishing and arranging for the

             furnishing of an item and service for which payment may be

             made in whole and in part under Federal health care programs,

             that is, Medicare, Medicaid, and TRICARE; and (B) purchasing,

             leasing, ordering, and arranging for and recommending

             purchasing, leasing and ordering any good, facility, service and

             item for which payment may be made in whole and in part under

             Federal health care programs, that is, Medicare, Medicaid, and




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                   TRICARE, in violation of Title 42, United States Code, Section

                   1320a-7b(b)(1).

                            Purpose of the Conspiracy

      24.    It was the purpose of the conspiracy for defendant HORNBUCKLE

and his co-conspirators to unlawfully enrich and benefit themselves by: (1) offering,

paying, soliciting, and receiving kickbacks and bribes to ensure that orders for

electro-diagnostic testing, including NCV and SEP testing, for Medicare, Medicaid,

and TRICARE beneficiaries would be referred to and performed by QBR;

(2) submitting and causing to be submitted claims to Medicare, Medicaid, and

TRICARE for these items and services based on these referrals; (3) concealing and

disguising the payment, receipt, and transfer of illegal kickbacks and the proceeds

of the fraud; and (4) using proceeds of the scheme for their personal use and benefit

and the use and benefit of others.

                                 Manner and Means

      25.    The manner and means by which defendant HORNBUCKLE and his

co-conspirators sought to accomplish the objects and purpose of the conspiracy

included, among others, the following:

      26.    HORNBUCKLE offered and paid providers, including Dr. Murphy

and Doctor 3’s pain clinic, in the form of direct and indirect remuneration in

exchange for and for the purpose of inducing referrals for medically unnecessary


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electro-diagnostic testing.

      27.      For example, HORNBUCKLE caused QBR to pay providers a flat fee

for each patient that provider referred to QBR for testing once that testing was

reimbursed by insurers, including by Federal health care programs. These payments

were disguised as hourly payments for the provider’s time and the time of the

provider’s staff, but the provider was actually compensated on a per-patient basis.

      28.      Dr. Mark Murphy and other providers solicited and received kickbacks

in the form of direct and indirect remuneration in exchange for and for the purpose

of inducing referrals for medically unnecessary electro-diagnostic testing.

      29.      HORNBUCKLE caused QBR to pay Dr. Murphy over $1 million in

kickbacks. As a result, QBR caused Federal health care programs to be billed over

$8.3 million for electro-diagnostic testing performed on patients referred by Dr.

Murphy.

      30.      HORNBUCKLE caused QBR to pay Doctor 3’s pain clinic over

$100,000 in kickbacks. As a result, QBR caused Federal health care programs to be

billed over $2.1 million for electro-diagnostic testing performed on patients referred

by Doctor 3.

      31.      HORNBUCKLE also paid independent sales representatives a flat fee

for each patient that a provider associated with that sales representative referred to

QBR for testing once that testing was reimbursed by insurers, including by Federal


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health care programs.

                                    Overt Acts

      32.    In furtherance of the conspiracy and to accomplish its objects and

purpose, at least one of the co-conspirators committed and caused to be committed,

in the Northern District of Alabama and elsewhere, at least one of the following

overt acts, among others:

      33.    On or about December 21, 2012, HORNBUCKLE caused QBR to pay

an $18,000 kickback to Dr. Murphy.

      34.    On or about July 11, 2016, Medicare was billed over $2,000 for electro-

diagnostic testing performed by QBR on a patient referred by Dr. Murphy.

      35.    On or about July 18, 2016, HORNBUCKLE caused QBR to pay a

$7,000 kickback to Dr. Murphy.

      36.    On or about November 16, 2016, Medicare was billed over $2,000 for

electro-diagnostic testing performed by QBR on a patient referred by Doctor 3.

      37.    On or about November 21, 2016, HORNBUCKLE caused QBR to pay

a $10,850 kickback to Doctor 3’s pain clinic.

      38.    On November 29, 2016, HORNBUCKLE caused QBR to pay a

$32,815 kickback to a company owned by a sales representative for electro-

diagnostic testing performed by QBR on a patient referred by providers associated

with that sales representative.


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      39.    On or about July 13, 2017, Medicare was billed over $2,000 for electro-

diagnostic testing performed by QBR on a patient referred by Dr. Murphy.

      40.    On or about July 19, 2017, HORNBUCKLE caused QBR to pay a

$7,000 kickback to Dr. Murphy.

      41.    On or about December 27, 2017, Medicare was billed over $1,500 for

electro-diagnostic testing performed by QBR on a patient referred by Doctor 3.

      42.    On or about January 8, 2018, HORNBUCKLE caused QBR to pay a

$7,100 kickback to Doctor 3’s pain clinic.

      All in violation of Title 18, United States Code, Section 371.

                                  COUNT TWO
                           Healthcare Fraud Conspiracy
                       [18 U.S.C. § 1349 (18 U.S.C. § 1347)]

      43.    Paragraphs 1 through 42 of this Indictment are realleged and

incorporated as though fully set forth herein.

      44.    From at least in or about December 2012 and continuing through in or

about January 2018 within Madison County in the Northern District of Alabama and

elsewhere, defendant

                             JOHN HORNBUCKLE

did knowingly and willfully conspire, combine, confederate and agree with others

known and unknown to the Grand Jury to execute a scheme and artifice to defraud

health care benefit programs affecting commerce, as defined in Title 18, United


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States Code, Section 24(b), that is, Medicare, Medicaid, TRICARE, BCBSAL, and

others, and to obtain, by means of materially false and fraudulent pretenses,

representations and promises, money and property owned by, and under the custody

and control of, said health care benefit programs, in connection with the delivery of

and payment for health care benefits, items and services, in violation of Title 18,

United States Code, Section 1347.

                            Purpose of the Conspiracy

      45.    It was the purpose of the conspiracy for the defendant and his co-

conspirators to unlawfully enrich themselves by, among other things: (a) submitting

and causing the submission of false and fraudulent claims to Medicare, Medicaid,

TRICARE, BCBSAL, and others for claims for items and services that were:

(i) medically unnecessary, (ii) not eligible for reimbursement, (iii) not provided as

represented, and (iv) based on kickbacks and bribes; (b) concealing the submission

of false and fraudulent claims to Medicare, Medicaid, TRICARE, BCBSAL, and

others and the receipt and transfer of the proceeds from the fraud; and (c) diverting

proceeds of the fraud for the personal use and benefit of the defendant and his co-

conspirators.

                               Manner and Means

      46.    The manner and means by which the defendant and his co-conspirators

sought to accomplish the object and purpose of the conspiracy included, among


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others, the following:

      47.    HORNBUCKLE offered and paid providers in the form of direct and

indirect remuneration in exchange for and for the purpose of inducing referrals for

medically unnecessary electro-diagnostic testing.

      48.    HORNBUCKLE offered and paid kickbacks to sales representatives

in the form of direct and indirect remuneration in exchange for and for the purpose

of causing those sales representatives to induce providers to refer medically

unnecessary electro-diagnostic testing to QBR.

      49.    Doctor 1 billed health care benefit programs, including Medicare,

Medicaid, TRICARE, BCBSAL, and others, for medically unnecessary electro-

diagnostic testing.

      50.    HORNBUCKLE and Doctor 1 failed to collect mandatory patient co-

pays due for electro-diagnostic testing to incentivize patients not to decline the

medically unnecessary procedures.

      51.    Doctor 1 improperly hid from insurers who was performing and

interpreting the results of the electro-diagnostic testing.

      52.    In total, health care benefit programs, including Medicare, Medicaid,

TRICARE, BCBSAL, and others, were billed over $20 million for medically

unnecessary electro-diagnostic testing performed by QBR on patients referred by

providers who had been paid kickbacks by QBR.


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        All in violation of Title 18, United States Code, Section 1349.

                                     COUNT 3
                           Money Laundering Conspiracy
                      [18 U.S.C. § 1956(h) (18 U.S.C. § 1957)]

        53.   Paragraphs 1 through 52 of this Indictment are realleged and

incorporated as though fully set forth herein.

        54.   From at least in or about April 2014 and continuing through in or about

June 2017 within Madison County in the Northern District of Alabama and

elsewhere, defendant

                              JOHN HORNBUCKLE

did willfully, that is, with the intent to further the objects of the conspiracy, and

knowingly combine, conspire, confederate, and agree with others known and

unknown to the Grand Jury to commit an offense under Title 18, United States Code

Section 1957, to wit: to knowingly engage in a monetary transaction by, through,

and to a financial institution affecting interstate and foreign commerce, in criminally

derived property of a value greater than $10,000, such property being derived from

specified unlawful activity, knowing that the property involved in the monetary

transaction was derived from some form of unlawful activity, in violation of Title

18, United States Code, Section 1957. It is further alleged that the specified unlawful

activity is health care fraud, in violation of Title 18, United States Code, Section

1347.


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                                    Manner and Means

      55.    The manner and means by which the defendant and his co-conspirators

sought to accomplish the object and purpose of the conspiracy included, among

others, the following:

      56.    HORNBUCKLE conspired with Doctor 1 to cause monetary

transactions of criminally derived property of a value greater than $10,000 by

transferring money by check from an account controlled by QBR to an account

controlled by Valley Center.

      All in violation of Title 18, United States Code, Section 1956(h).

                         FIRST NOTICE OF FORFEITURE
                               18 U.S.C. § 982(a)(7)

      1.     The allegations in COUNT 1 through COUNT 3 of this Indictment are

hereby re-alleged and incorporated by reference for the purpose of alleging forfeiture

pursuant to Title 18, United States Code, Section 982(a)(7).

      2.     Upon conviction of the offenses set forth in COUNT 1 through COUNT

3 of this Indictment, defendant JOHN HORNBUCKLE shall forfeit to the United

States of America, pursuant to Title 18, United States Code, Section 982(a)(7), any

property, real or personal, that constitutes or is derived, directly or indirectly, from

gross proceeds traceable to the commission of the offenses.

      3.     The property to be forfeited includes, but is not limited to, forfeiture

money judgments in United States currency, representing the amount of proceeds
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obtained, controlled, and benefited from as a result of the offenses alleged.

      4.     If any of the property described above, as a result of any act or omission

of the defendant:

             a.     cannot be located upon the exercise of due diligence;

             b.     has been transferred or sold to, or deposited with, a third party;

             c.     has been placed beyond the jurisdiction of the court;

             d.     has been substantially diminished in value; or

             e.     has been commingled with other property which cannot be

                    divided without difficulty,

the United States of America shall be entitled to forfeiture of substitute property

pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title

18, United States Code, Section 982(b)(1) and Title 28, United States Code, Section

2461(c).




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      All pursuant to 18 U.S.C. § 982(a)(7) and 28 U.S.C. § 2461(c).

A TRUE BILL

/s/Electronic Signature

FOREPERSON OF THE GRAND JURY

                                            PRIM F. ESCALONA
                                            United States Attorney

                                            /s/Electronic Signature
                                            ______________________________
                                            JOHN B. WARD
                                            Assistant United States Attorney

                                            /s/Electronic Signature
                                            ______________________________
                                            DON B. LONG III
                                            Assistant United States Attorney




                                       17
                                                                             Exhibit A
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                 EXHIBIT
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      Hornbuckle’s Plea Agreement
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                 EXHIBIT
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               Order of Restitution
    Case
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                                                                                      N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                       NORTHEASTERN DIVISION


UNITED STATES OF AMERICA )
                         )                    Case No.:
         v.              )                    5:22-cr-78-LSC-NAD
                         )
JOHN HORNBUCKLE          )

                               Order of Restitution

      The Court finds that the following entities are victims of the criminal conduct

of John Hornbuckle underlying the conviction in this case, and that those entities

have sustained loss in the following amounts:

      Medicare                                $4,354,133.66
      Blue Cross Blue Shield of Alabama       $3,847,085.35
      Medicaid                                $820,576.67
      TRICARE                                 $170,209.52
      Total Loss                              $9,192,005.20

      The court hereby orders John Hornbuckle to pay restitution of $9,192,005.20

without interest, jointly and severally with Eric Beck. The restitution should be paid

to the victims listed below in the amounts listed above:

      Medicare
      Centers for Medicare & Medicaid Services
      7500 Security Boulevard
      Mailstop C3-11-03
      Baltimore, MD 21244
      RE: United States v. John Hornbuckle, 5:22-cr-78-LSC-NAD




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       Blue Cross and Blue Shield of Alabama
       Attn: Network Integrity Department
       Mail Stop# F01027
       PO Box 12381
       Birmingham AL 35202-2381
       RE: United States v. John Hornbuckle, 5:22-cr-78-LSC-NAD

       Medicaid
       Beverly Churchwell, Director
       Program Integrity Division
       Alabama Medicaid Agency
       501 Dexter Avenue
       Montgomery, AL 36104
       RE: United States v. John Hornbuckle, 5:22-cr-78-LSC-NAD

       TRICARE
       Defense Health Agency, Aurora
       ATTN: Finance Office
       16401 E Centretech Parkway
       Aurora, CO 80011-9043
       RE: United States v. John Hornbuckle, 5:22-cr-78-LSC-NAD

       Because there are multiple payees, any payment not made directly to a payee

shall be divided proportionately among the payees using the percentages below:

       Medicare                                47%
       Blue Cross Blue Shield of Alabama       42%
       Medicaid                                9%
       TRICARE                                 2%

       Note: Each victim’s recovery is limited to the amount of its loss, and the

defendant’s liability to a victim for restitution ceases if and when the victim receives

full restitution.

       Restitution shall be due and payable immediately. Any payment schedule

represents a minimum payment obligation and does not preclude the United States
                                           2

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Attorney’s Office from pursuing any other means by which to satisfy the defendant's

full and immediately enforceable financial obligation under applicable federal

and/or state law. Payments shall be made to Clerk, U.S. District Court, for transfer

to the payees.

      DONE and ORDERED on March 17, 2023.



                                             _____________________________
                                                     L. Scott Coogler
                                                United States District Judge
                                                                               202713




                                         3

                                                                                        Exhibit C
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                 EXHIBIT
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AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 1 - Judgment in a Criminal Case                                    U.S. DISTRICT COURT
                                                                                                                 N.D. OF ALABAMA


                                UNITED STATES DISTRICT COURT
                                    Northern District of Alabama
UNITED STATES OF AMERICA

         v.                                                           Case Number 5:22-CR-078-LSC-NAD

JOHN HORNBUCKLE
    Defendant.


                                        JUDGMENT IN A CRIMINAL CASE
                              (For Offenses Committed On or After November 1, 1987)

         The defendant, JOHN HORNBUCKLE, was represented by Max Pulliam and Joshua Lowther.

         On motion of the United States, the court has dismissed count 3.

        The defendant pleaded guilty to counts 1 and 2. Accordingly, the defendant is adjudged guilty of the
following counts, involving the indicated offenses:

Title & Section                                                   Nature of Offense                      Count Number(s)

18 U.S.C. § 371 (42 U.S.C. § 1320a-7b(b)(1)) CONSPIRACY TO PAY AND RECEIVE                               1
                                             KICKBACKS

18 U.S.C. § 1349 (18 U.S.C. § 1347)                     HEALTHCARE FRAUD CONSPIRACY                      2

     As pronounced on March 10, 2023, the defendant is sentenced as provided in pages 2 through 7 of this
Judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

       It is ordered that the defendant shall pay to the United States a special assessment of $200.00, for counts
1 and 2, which shall be due immediately.

        It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this Judgment are fully paid.

                    Done this 17th day of March, 2023.




                                                                           L. Scott Coogler
                                                                      United States District Judge
                                                                                           202713




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AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 2 - Imprisonment


                                                                                              Judgment--Page 2 of 7
Defendant: JOHN HORNBUCKLE
Case Number: 5:22-CR-078-LSC-NAD

                                                       IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a term of SIXTY (60) months as to Count 1 plus EIGHTY (80) months as to Count 2, separately and to be
served concurrently with each other.

        The Court makes the following recommendations to the Bureau of Prisons: That the defendant be housed
in a facility close to Huntsville, AL.

        The defendant shall surrender to the United States marshal for this district by 12:00 PM on 5/9/2023.




                                                             RETURN

        I have executed this Judgment as follows:




        Defendant delivered on                       to                                  at
                    , with a certified copy of this Judgment.



                                                                 United States Marshal

                                            By
                                                                      Deputy Marshal




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AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 3 - Supervised Release
                                                                                                                     Judgment--Page 3 of 7
Defendant: JOHN HORNBUCKLE
Case Number: 5:22-CR-078-LSC-NAD
                                           SUPERVISED RELEASE
        Upon release from imprisonment, the defendant shall be on supervised release for a term of 36 months
as to Counts 1 and 2, to be served concurrently with each other. The Probation Office shall provide the defendant
with a copy of the standard conditions and any special conditions of supervised release.

                                           STANDARD CONDITIONS OF SUPERVISED RELEASE

While the defendant is on supervised release pursuant to this Judgment:
1)   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the time you
     were sentenced (if placed on probation) or released from custody (if supervised release is ordered), unless the probation officer instructs
     you to report to a different probation office or within a different time frame.
2)   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and when
     to report to the probation officer, and you must report to the probation officer as instructed.
3)   You must not commit another federal, state, or local crime.
4)   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
     designed, or was modified, for the specific purpose of causing bodily injury or death to another person, such as nunchakus or tasers).
     Revocation of supervision is mandatory for possession of a firearm.
5)   You must not unlawfully possess a controlled substance.
6)   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court. You must contribute to the cost of drug testing
     unless the probation officer determines you do not have the ability to do so. Based upon a court order entered during the period of
     supervision for good cause shown or resulting from a positive drug test or evidence of excessive use of alcohol, you shall be placed
     in the Substance Abuse Intervention Program (SAIP) (or comparable program in another district).
7)   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
     court or the probation officer.
8)   You must follow the instructions of the probation officer related to the conditions of supervision.
9)   You must answer truthfully the questions asked by the probation officer.
10) You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
     the probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer
     within 72 hours of becoming aware of a change or expected change. (If you have been convicted of a crime of violence or a drug
     trafficking offense, the probation office is responsible for complying with the notice provisions of 18 U.S.C. § 4042(b) and (c) if you
     change your residence.)
11) You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
     take any items prohibited by the conditions of your supervision that he or she observes in plain view.
12) You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from doing
     so. If you do not have full-time employment, you must try to find full-time employment, unless the probation officer excuses you from
     doing so. If you plan to change where you work or anything about your work (such as the position or the job responsibilities), you must
     notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible
     due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
     change.
13) You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been convicted
     of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the probation officer.
14) If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
15) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
     first getting the permission of the court.
16) If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may require
     you to notify the person about the risk, and you must comply with that instruction. The probation officer may contact the person and
     confirm that you have notified the person about the risk.
17) You must fully and truthfully disclose financial information as requested by the probation officer related to the conditions of supervision.
     Financial information may include, but is not limited to, authorization for release of credit information, bank records, income tax returns,
     documentation of income and expenses, and other financial information regarding personal or business assets, debts, obligations, and/or
     agreements in which the defendant has a business involvement or financial interest.
18) You must support all dependents.




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AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 3 - Continuation of Standard Conditions of Supervised Release
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Defendant: JOHN HORNBUCKLE
Case Number: 5:22-CR-078-LSC-NAD

                             CONTINUATION OF STANDARD CONDITIONS OF SUPERVISED RELEASE

19)   You must comply with the probation office's Policies and Procedures Concerning Court-Ordered Financial Obligations to satisfy the
      balance of any monetary obligation resulting from the sentence imposed in the case. Further, you must notify the probation officer of
      any change in your economic circumstances that might affect your ability to pay a fine, restitution, or assessment fee. If you become
      more than 60 days delinquent in payments of financial obligations, you may be: (a) required to attend a financial education or
      employment preparation program under the administrative supervision of the probation officer; (b) placed on home detention subject
      to location monitoring for a maximum period of 90 days under the administrative supervision of the probation officer (and you must pay
      the cost of monitoring unless the probation officer determines you do not have the ability to do so); and/or (c) placed in a community
      corrections center for up to 180 days under the administrative supervision of the probation officer (and you must pay the cost of
      subsistence unless the probation officer determines you do not have the ability to do so).




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AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 3 (cont'd) - Supervised Release


                                                                                                                 Judgment--Page 5 of 7
Defendant: JOHN HORNBUCKLE
Case Number: 5:22-CR-078-LSC-NAD

                                                SPECIAL CONDITIONS OF SUPERVISION

While the defendant is on supervised release pursuant to this Judgment:

1)   You must cooperate in the collection of DNA under the administrative supervision of the probation officer.
2)   You must not use or possess alcohol.
3)   You must participate in the Substance Abuse Intervention Program (SAIP) (or comparable program in the district of supervision) under
     the administrative supervision of the probation officer, and you must comply with the requirements and rules of the program. This
     program includes the following components: (a) testing by the probation officer or an approved vendor to detect prohibited drug or
     alcohol use; (b) substance abuse education; (c) outpatient substance abuse treatment, which may include individual or group
     counseling, provided by the probation office or an approved vendor, and/or residential treatment; (d) placement in a community
     corrections center (halfway house) for up to 270 days; and/or (e) home confinement subject to electronic monitoring for up to 180 days.
     You must contribute to the costs of participation unless the probation officer determines you do not have the ability to do so.
4)   You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664.
5)   You must not incur any new debts (other than normal debts for existing utilities, rental expenses, or mortgage payments), increase
     existing credit lines, or open any new lines of credit without the permission approval of the probation officer unless and until all
     court-ordered financial obligations have been paid in full. New debt includes contracts which obligate payments, credit agreements,
     and loans, including those with friends and family members.
6)   You must maintain a single checking and/or savings account in your own legal name. You must deposit all personal income and
     monetary gains into the account(s) and must pay all personal expenses from this account.
7)   You must not obtain or maintain employment in the following occupation, business or profession: No job that involves billing Federal
     Health Insurance Programs or work for business that bills Federal Healthcare Programs. The Court finds that: 1) a reasonably direct
     relationship exists between your business, occupation, or employment and the conduct constituting the offense; and (2) imposition of
     such a restriction is reasonably necessary to protect the public because there is reason to believe that, absent such restriction, you will
     continue to engage in unlawful conduct similar to that of which you were convicted. This condition is imposed for the term of probation
     or supervised release.




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AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 5 - Fine


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Defendant: JOHN HORNBUCKLE
Case Number: 5:22-CR-078-LSC-NAD

                                                      FINE


         The defendant shall pay a fine of $250,000.00.

       The Court has determined that the defendant does not have the ability to pay interest, and it is accordingly
ordered that the interest requirement is waived.

         This fine is due and payable immediately .

        If the fine is not paid, the court may sentence the defendant to any sentence which might have been
originally imposed. See 18 U.S.C. § 3614.




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AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 6 - Restitution and Forfeiture


                                                                                            Judgment--Page 7 of 7
Defendant: JOHN HORNBUCKLE
Case Number: 5:22-CR-078-LSC-NAD

                                              RESTITUTION AND FORFEITURE


                                                           RESTITUTION

      The Court orders restitution in the amount of $9,192,005.20 as set out in the order entered
contemporaneously in this case.


                                                           FORFEITURE

         The defendant is ordered to forfeit the following property to the United States:

                                                       $176,449.19




                                                                                                        Exhibit D
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                 EXHIBIT
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       Amended Order of Forfeiture
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                                                                                     N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                       NORTHEASTERN DIVISION

UNITED STATES OF AMERICA )
                         )
v.                       ) Case No.: 5:22-cr-00078-LSC-NAD
                         )
JOHN HORNBUCKLE,         )
    Defendant.           )

                  *AMENDED* FINAL ORDER OF FORFEITURE


      In the Notice of Forfeiture included in the Indictment in this case, the United

States sought forfeiture of any property of Defendant JOHN HORNBUCKLE,

pursuant to 18 U.S.C. § 982(a)(7), constituting or derived from proceeds traceable

to the conspiracy to commit health care fraud offense charged in Count Two in

violation of 18 U.S.C. §§ 1347 and 1349. The Notice of Forfeiture also informed

Defendant of the Government’s intention to seek forfeiture of substitute assets in

the event the directly forfeitable property was unavailable.

On November 3, 2022, Defendant JOHN HORNBUCKLE entered a formal plea of

guilty to Counts One and Two. In the plea agreement, Defendant agreed that the

Court could enter an order of forfeiture against him in the amount of $176,449.19.

      Therefore the court ORDERS:




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      1.      That JOHN HORNBUCKLE, shall FORFEIT to the United States of

America the $176,449.19 in proceeds Defendant obtained, controlled, and benefitted

from as result of the offense pursuant to 18 U.S.C. § 982(a)(7):

      2.      That the Attorney General or his designee is hereby authorized to seize

said property forfeited herein.

      3.      That this Order of Forfeiture shall be deemed final as to Defendant

JOHN HORNBUCKLE, and shall be made part of his sentence and included in

Defendant’s Judgment in accordance with Rule 32.2(b)(4) of the Federal Rules of

Criminal Procedure.

      4.      That this Court shall retain jurisdiction in the case for the purpose of

enforcing this Order.




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      5.     That the Clerk of the Court shall forward two certified copies of this

Final Order of Forfeiture to the United States Attorney’s Office, 1801 Fourth

Avenue North, Birmingham, AL 35203, Attention: Austin Shutt, Assistant U.S.

Attorney, and one certified copy to the U.S. Marshals Service.

      DONE and ORDERED on March 16, 2023.



                                             _____________________________
                                                     L. Scott Coogler
                                                United States District Judge
                                                                               202713




                                        3
                                                                                        Exhibit E
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                 EXHIBIT
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          Sentencing Memorandum
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                                                                                      N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                       NORTHEASTERN DIVISION


UNITED STATES OF AMERICA )
                         )                    Case No.:
         v.              )                    5:22-cr-78-LSC-NAD
                         )
JOHN HORNBUCKLE          )

             UNITED STATES’ SENTENCING MEMORANDUM

       The United States submits this memorandum for the Court’s consideration in

determining an appropriate sentence for defendant John Hornbuckle. The

presentence investigation report (PSR) correctly calculates the U.S. Sentencing

Guidelines range as 70 to 87 months. The United States recommends that the Court

sentence this defendant to 80 months in custody.

                                   ARGUMENT

I.     The PSR Correctly Calculates The Defendant’s Guidelines Range

       According to Hornbuckle’s PSR, his Guidelines range is 70 to 87 months.

Hornbuckle objects to that calculation because it includes a four-level

leader/organizer enhancement. That objection lacks merit.

       The Guidelines commentary identifies several factors that the Court should

consider in determining whether this level of enhancement applies. Those factors

include “the exercise of decision making authority, the nature of participation in the

commission of the offense, the recruitment of accomplices, the claimed right to a
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larger share of the fruits of the crime, the degree of participation in planning or

organizing the offense, the nature and scope of the illegal activity, and the degree of

control and authority exercised over others.” U.S. Sent’g Guidelines Manual § 3B1.1

cmt. n.4. Those factors support the application of the enhancement to Hornbuckle’s

conduct in this case.

      Hornbuckle exercised significant decision-making authority and control in the

QBR fraud and kickback scheme. With more than a decade of experience running

health care companies, Hornbuckle moved back to Huntsville and co-founded QBR.

For the whole conspiracy period, he served as president and CEO.

      Hornbuckle recruited accomplices to his scheme. He needed a doctor to

interpret test results in order for insurance companies to pay for the tests, so he

recruited Eric Beck to serve as interpreting physician and bill for the tests (and then

send the money to QBR). He needed sales reps to expand QBR’s reach at pain

management clinics in the region, so he gave Brian Bowman, James Ray, John

Robson, and others a bucket of kickback money per patient to allocate between the

sales rep and the doctor.

      Hornbuckle played a central role in the scheme. The more the doctor was paid

for each patient, the less the sales rep would get. It was Hornbuckle, not the sales

reps, who authorized what the bucket of kickback money would be. It was

Hornbuckle, not the sales reps, who decided how the payments would be

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structured—disguised as hourly oversight fees rather than the per-patient kickbacks

they truly were.

        The government will be prepared to present evidence at sentencing to further

flesh out Hornbuckle’s role in the scheme.

II.     A Guidelines-Range Sentence Is Fair And Reasonable For This
        Defendant

        The government recommends a sentence of 80 months. That sentence, near

the midpoint of the Guidelines range, would be “sufficient, but not greater than

necessary, to comply with the purposes” of sentencing set forth in 18 U.S.C.

§ 3553(a).

        This sentence would take account of the nature and circumstances of

Hornbuckle’s offenses. This case involved kickbacks and fraud that cost insurance

companies many millions of dollars. The sentence would also take account of

Hornbuckle’s own personal characteristics. Hornbuckle knew better. He had led

other health care companies in California. He was an experienced hand who knew

the rules and willfully broke them for personal gain.

        The proposed sentence would also justly punish the crimes, promote respect

for the law, and afford adequate deterrence. These crimes need stiff penalties to

afford adequate deterrence. As noted, Hornbuckle knew better yet continued to pay

kickbacks and incentivize medically unnecessary (and uncomfortable and

sometimes painful) nerve conduction tests to make more money.
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      The sentence Hornbuckle receives should send the message that healthcare

fraud and kickbacks will not be tolerated. These crimes do untold damage to our

healthcare system and the taxpayers who fund it. See, e.g., United States v. Moss, 34

F. 4th 1176, 1181 (11th Cir. 2022); see also United States v. Howard, 28 F. 4th 180,

186, 207, 209 (11th Cir. 2022) (reversing a healthcare fraud sentence as too low, and

recognizing that “white collar medical crimes like [this one] are serious because they

can disrupt health care markets”); United States v. Carreras, 793 F. App’x 859, 863-

64 (11th Cir. 2019) (approvingly citing trial court’s decision regarding “negative

impact” of Medicare fraud on the nation’s healthcare system). And yet there is a

“tendency for people to consider crimes against the government as less serious than

crimes committed against a person.” Carreras, 793 F. App’x at 864.

      Deterrence is therefore critical. “[O]ne of the primary objectives of the

sentence is to send a message” to others who contemplate such schemes that their

crime is a serious one “that carries with it a correspondingly serious punishment.”

Howard, 28 F. 4th at 209 (cleaned up); see also, e.g., Moss, 34 F. 4th at 1181

(affirming 97-month sentence for a doctor responsible for millions of dollars in

fraudulent billings); United States v. Oudomsine, 57 F.4th 1262, 1268 (11th Cir.

2023) (affirming 36-month sentence for defendant who had fraudulently obtained an

$85,000 COVID-19 disaster relief loan and whose Guidelines range was 8 to 14

months).

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      The Court should impose an 80-month sentence for Hornbuckle’s fraud—one

that put a million dollars of kickback money in Mark Murphy’s pocket and a million

dollars of kickbacks in Brian Bowman’s pocket, too. A middle-of-the-range sentence

would signal that the crimes are serious, that the laws against them deserve respect,

and that recalcitrant violators will be punished.

                                  CONCLUSION

      The PSR appropriately calculated the defendant’s Guidelines range. The

defendant should receive an 80-month Guidelines-range sentence.

                                              Respectfully submitted,

                                              PRIM ESCALONA
                                              United States Attorney


                                              /s/ John B. Ward
                                              JOHN B. WARD
                                              DON B. LONG
                                              Assistant United States Attorneys




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                                                                                   Exhibit F
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                         CERTIFICATE OF SERVICE

      I certify that, on March 8, 2023, I filed this document with the United States

District Court for the Northern District of Alabama, and caused a copy to be served

on the defendant’s counsel of record.

                                             /s/ John B. Ward
                                             JOHN B. WARD
                                             Assistant United States Attorney
                                             1801 Fourth Avenue North
                                             Birmingham, AL 35203
                                             (205) 244-2001




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                                                                                  Exhibit F
